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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN

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DONALD LEE MAINS,
                                                                          ORDER
                             Plaintiff,
                                                                         18-cv-881-bbc
              v.

ANDREW SAUL, COMMISSIONER
OF SOCIAL SECURITY,

                            Defendant.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       On February 18, 2020, I denied plaintiff Donald Lee Mains’s claim for greater

retirement benefits from the Social Security Administration, concluding that he had failed

to show that he was challenging a final agency decision or that he was entitled to any

additional benefits. Dkt. #31. I also denied his motion for reconsideration. Dkt. #38. On

September 17, 2020, the Court of Appeals for the Seventh Circuit affirmed the judgment

against plaintiff, concluding that plaintiff had failed to identify any reviewable agency

decision. Dkt. #41-1.

       Now plaintiff has filed letters with the court, along with several pages of documents

that he says support his claim. Dkt. ##39, 42, 43. However, judgment has been entered

against plaintiff, the court of appeals has affirmed the judgment and this case is closed. I

could not consider plaintiff’s new evidence unless he filed a successful motion for relief from

judgment under Rule 60(b) of the Federal Rules of Civil Procedure. That rule authorizes

district courts to vacate a judgment for the following reasons:

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       (1) mistake, inadvertence, surprise, or excusable neglect;

       (2) newly discovered evidence that, with reasonable diligence, could not have been
       discovered in time to move for a new trial under Rule 59(b);

       (3) fraud (whether previously called intrinsic or extrinsic), misrepresentation, or
       misconduct by an opposing party;

       (4) the judgment is void;

       (5) the judgment has been satisfied, released, or discharged; it is based on an earlier
       judgment that has been reversed or vacated; or applying it prospectively is no longer
       equitable; or

       (6) any other reason that justifies relief.

Fed. R. Civ. P. 60(b).

       I can construe plaintiff’s letters as motions for relief from judgment under Rule 60(b),

but plaintiff has not shown that he is entitled to relief for any of the reasons listed above.

To the extent that plaintiff is arguing that he has “newly discovered evidence,” he has not

explained why he could not have discovered the evidence earlier. More importantly, none

of the information plaintiff provides in his letters shows that he is appealing a final decision

of the Social Security Administration or that he is entitled to additional retirement benefits.

Therefore, his motions will be denied.




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                                       ORDER

      IT IS ORDERED that plaintiff Donald Lee Mains’s motions for relief from judgment,

dkts. ## 39, 42 and 43 are DENIED.



      Entered this 9th day of November, 2020.

                                       BY THE COURT:

                                       /s/
                                       __________________________________
                                       BARBARA B. CRABB
                                       District Judge




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